UNITED sTATEs DISTRICT coURT
FoR THE EASTERN DISTRICT oF NoRTH cARoLINA F.LED.N op N¢ m

SOUTHERN DIVISION ON IZ, 15
Dennis P. lavarone. Clerk

US District Court
NO. 7:09-CR~76~2BO EmeDsmmmNc

UNITED STATES OF AMERICA

V. ORDER FOR DISMISSAL

THOMAS JAVIE KINLAW, III

Pursuant to Rule 48(a) of the Federal Rules of Criminal
Procedure and by leave of Court endorsed hereon, the United States
Attorney for the Eastern District of North Carolina hereby
dismisses Counts One and Five of the Indictment in the above-
captioned matter.

This the 12th day of May, 2010.

GEORGE E. B. HOLDING
Un' t es Attorney

 

THOMAS “B ."MURPHY
Assistant United States Attorney

Leave of Court is granted for the filing of the foregoing
dismissal.

 

 

TERRENCE W. BOYLE
UNITED STATES DISTRICT UDGE

Date, 5//?//%/°

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